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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            No.   CR. S-07-165 LKK
12                 Plaintiff,
13          v.                            ORDER
14   DARIUS LOUIS,
15                 Defendant.
16

17          The court recently denied the Request of defendant Darius

18   Louis to seal the entire record of this criminal case.            ECF

19   No. 296.    As for Louis’s request to seal the Request itself, and

20   associated documents (all of which were emailed to the court and

21   not yet made a part of the docket), that request is GRANTED,

22   notwithstanding the prior order.

23          Accordingly, pursuant to E.D. Cal. R. 141(e), the court now

24   instructs the Clerk of the Court to file under seal the documents

25   emailed to Chambers in support of the request, namely, the (1)

26   Request To Seal Documents, (2) Declaration, and (3) proposed

27   order.

28   ////
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     Case 2:07-cr-00165-TLN Document 297 Filed 07/09/14 Page 2 of 2


 1      IT IS SO ORDERED.
 2      DATED:    July 8, 2014.
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